         Case 1:21-cr-00175-TJK Document 432 Filed 08/10/22 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                    CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                      Defendant.

_______________________________/

 DEFENDANT’S MOTION FOR EXPEDITED REVIEW OF BRADY MOTION [D.E. 431]

       COMES NOW, Defendant, Enrique Tarrio, by and through undersigned counsel and

requests that this Honorable Court enter an Order that the Court provide direction on an expedited

basis on D.E 431 as it directly impacts the motion deadline on August 19, 2022:

       1. Undersigned counsel and co-counsel have been making repeated request for the Brady

           information since June 2022 as stated in the motion.

       2. The requested information has a direct impact on potential motions that will or may be

           filed on this case. Undersigned counsel wants to ensure that the Court’s orders are

           complied as there is a motion deadline for August 19, 2022 with a pending trial date

           for December 12, 2022.

       3. As such, Undersigned is requesting that this Honorable Court enter an Order requiring

           the Government to respond to the D.E 431 in an expedited fashion and set a hearing as

           promptly as possible to address this issue.



                     -THIS SPACE IS LEFT INTENTIONALLY BLANK-




                                             Page 1 of 3
Case 1:21-cr-00175-TJK Document 432 Filed 08/10/22 Page 2 of 3



                            Respectfully submitted,

                            /s/ Nayib Hassan
                            _____________________________
                            Nayib Hassan, Esq., Fla Bar No. 20949
                            Attorney for Defendant
                            LAW OFFICES OF NAYIB HASSAN, P.A.
                            6175 NW 153 St., Suite 209
                            Miami Lakes, Florida 33014
                            Tel. No.: 305.403.7323
                            Fax No.: 305.403.1522




                            Page 2 of 3
         Case 1:21-cr-00175-TJK Document 432 Filed 08/10/22 Page 3 of 3


                              CERTICICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

noticed through the CM/ECF system to the US Attorney’s Office on this 10th day of August, 2022

to the following:

       Jason McCollough
       Erik Kenerson
       Nadia Moore
       Conor Mulroe

                                           Respectfully submitted,

                                           /s/ Nayib Hassan
                                           _____________________________
                                           Nayib Hassan, Esq., Fla Bar No. 20949
                                           Attorney for Defendant
                                           LAW OFFICES OF NAYIB HASSAN, P.A.
                                           6175 NW 153 St., Suite 209
                                           Miami Lakes, Florida 33014
                                           Tel. No.: 305.403.7323
                                           Fax No.: 305.403.1522




                                           Page 3 of 3
